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              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

  BERKELEY VENTURES II, LLC,

       Plaintiff,

  v.
                                                   Case No.: 1:19-CV-05523-SDG
  SIONIC MOBILE CORPORATION
  and RONALD D. HERMAN

       Defendants.


 MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEALIN
SUPPORT OF ITS REPLY BRIEF TO ADD MR, PATRICK GAHAN

       COMES NOW Plaintiff Berkeley Ventures II, LLC (“Plaintiff”) and

hereby moves this Court to order documents sealed in accordance with part

13 of the Court’s Non-Sharing Protective Order [Doc. 107] Part 13 stipulates

that “all Discovery Materials that are filed with this Court that contain any

portion of any Confidential Information shall be filed in a sealed envelope or

other appropriate sealed container, clearly stating the title of this Litigation,

and an indication of the nature of contents of the sealed envelope or other

container, the phrase “Subject to Non-Sharing Protective Order” and a

statement substantially in the following form: “This envelope or container

shall not be opened without order of the Court, except by officers of the

Court and counsel of record, who, after reviewing the contents, shall return

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them to the clerk in a sealed envelope or container”. Plaintiff obtained some

of subject documents which were marked either as “Confidential” or

“Attorneys’ Eyes Only” by either the Defendant Sionic Mobile Corporation

or third party the Enduring Hearts Charity. 1 Accordingly, Plaintiff seeks to

file said documents under seal, subject to motion as instructed by the Court’s

Standing Order [Doc. 45]. Plaintiff reserves the right to challenge the

designations on these documents as ton confidentiality or attorney’s eyes

only.

        A proposed Order is attached hereto as Exhibit A. A copy of the

subject documents sought to be seal under this Motion has already been

delivered to opposing counsel as notice of said sealed filing.

This the 16th day of July, 2021.




                                               GODWIN LAW GROUP


                                               /s/ Jason B. Godwin
                                               Jason B. Godwin
                                               Georgia Bar No. 142226

                                               3985 Steve Reynolds Boulevard
                                               Building D
                                               Norcross, Georgia 30093

1By verbal agreement of counsel – all documents produced by Enduring Hearts in this matter
were deemed “Confidental”.

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                                      Phone: 770-448-9925
                                      Fax: 770-448-9958
                                      jgodwin@godwinlawgroup.com

              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

  BERKELEY VENTURES II, LLC,

       Plaintiff,

  v.
                                               Case No.: 1:19-CV-05523-SDG
  SIONIC MOBILE CORPORATION
  and RONALD D. HERMAN

       Defendants.


     CERTIFICATE OF COMPLIANCE WITH L.R. 7.1, N.D. GA.
      The undersigned hereby certifies that this pleading was prepared using
one of the font and point selections approved by this Court in L.R. 5.1C,
N.D. Ga. Specifically, Times New Roman font in 14 point.




                        By: /s/ Jason B. Godwin
                         Jason B. Godwin, Esq.
                       Georgia Bar No. 14222




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              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

  BERKELEY VENTURES II, LLC,

       Plaintiff,

  v.
                                               Case No.: 1:19-CV-05523-SDG
  SIONIC MOBILE CORPORATION
  and RONALD D. HERMAN

       Defendants.


                     CERTIFICATE OF SERVICE
              I hereby certify that I have this day served a copy of the

foregoing PLAINTIFF’S MOTION FOR LEAVE TO FILE

DOCUMENTS UNDER SEAL by depositing a copy of same

simultaneously with the initial complaint in this matter with

electronically delivery to the following:

                                Simon Jenner
                                 Adam Ford
                      210 Interstate North Parkway, SE
                                  Suite 100
                           Atlanta, Georgia 30339

Submitted this 16th day of July, 2021.




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                                 GODWIN LAW GROUP

                                 /s/ Jason B. Godwin
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                                 Georgia Bar No. 142226
                                 3985 Steve Reynolds Boulevard
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                            EXHIBIT A




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              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

  BERKELEY VENTURES II, LLC,

       Plaintiff,

  v.
                                                  Case No.: 1:19-CV-05523-SDG
  SIONIC MOBILE CORPORATION
  and RONALD D. HERMAN

       Defendants.



                            PROPOSED ORDER

       This matter having come before the Court on the Motion to Plaintiff
Berkeley Ventures II, LLC to file certain documents under seal, and for
good cause shown, the Court:

       ORDERS that the documents designated                        as

Confidential and/or Attorneys’ Eyes Only by either Defendant Sionic

Mobile Corporation or Enduring Hearts Charity is hereby sealed, in

accordance with the Court’s Non-Sharing Protective Order [Doc. 107]. This

Order does not limit Plaintiff’s right to challenge said designations in the

future.




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This the __ day of ____________, 2021.




                                    The Honorable Steven D. Grimberg
                                    United States District Court
                                    Northern District of Georgia


Order Prepared and Presented by:

s/ Jason B. Godwin
Jason B. Godwin
Georgia Bar No. 142226




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